t           Case: 1:24-cv-06951 Document #: 5 Filed: 08/07/24 Page 1 of 2 PageID #:14
                                                                                        /*,rLED
Ke$^ (*orJ * ^                       UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF ILLINOIS
                                                                                                     AU6 -? 2024

{ lcftra-. Gr.de,                                                                               --THOMAS
                                                                                              CLERK,
                                                                                                           G. BRUTON
                                                                                                     u.s. DrsTRrcr Counr
 R s ber{- Cro. i tuu,q
      (full hame of plaintiff or petitioner)                                 APPLICATION TO PROCEED
 B-or Jc,r"r
             rr (,d; I t' c^r* f                                             WITHOUT PREPAYING FEES OR
                vs.                                                          COSTS / FINANCIAL AFFIDAVIT
                                                                             (NON-PRTSONER CASE)

        f-.o nl.e fr- frrrl;ne s
      (full name of defendani(s) or respondent(s))
                                                   lr?HffitJ                              Kness
                                                                             Magishate Judge Maria
                                                                                                   Valdez
                                                                             Cat 2fianoom Assign'"ttt
                        Instructions: Please answer every ques
                                      If the answer is "0" or "none," say so.

     Application: I am one of the parties in this case. I believe that I am entitled to the relief I am
     requesting in this case. I am providing the following information under penalty of perjury in support of
     my requqt (check all that apply):

                Na    proceed informapauperis(IFP) (without prepaying fees or costs)

                [a    request an attorney


     1. Are you emplolted?
        1_l""" Name and address of employer:
                       Total amount of monthly take-home pay:

          MNo          Date(s) of last"*ptoy*"rt ,        (
                                                              / i/,
     2.   lf married, is uour spouse employedi E     Not married

          ffi                      address of spouse's employer:

            -          Total amount of spouse's monthly take-home pay:

          ffi*.        Date(s) of spouse's last employm
                                                          "rr",J/ t?hlSio,rr"',
                                                                                       last monthly oU"-n
                                                                                                             ^";E2g
     3. Other sources of income / mone-v: For the past72loor,(hr, list the amount of money that you and./ or
          your spouse have received from any of the following sources:
                                                                                            (list the 12-month total for each)
          Self-employment, business, or profession:                                       $              -er-
          Income from interest or dividends:                                       -      ${r
          Income from rent payments:                                                      $x
          Pensions, annuities, or life insurance:                                         $x
          Disability or worker's compensation:
          Gifts (including deposits into any accounts in your name):
                                                                                          $E
          Unemployment, public assistance, or welfare:
          Settlements or judgments (include any that are expected):
          Any other source of money:


                                                              Page 1, of 2
     Rev.2/2020
        Case: 1:24-cv-06951 Document #: 5 Filed: 08/07/24 Page 2 of 2 PageID #:15




4. Cash and bank accounts: Do you
                              -
                                  qnd/ or your spouse have any money in cash or in a checking or
   savinss account? fJy".       [XfNo If ves. how much?
5. Other assets: Do you and/or your spouse own or have an interest in any real estate (including your
    home), stocks, bonds, other securities, retirement plans, automobiles, jewelry, or other l1luable
    property (not including ordinary household fumishings and clothing)? l-l Yes
                                                                                             ,[\[No
    If yes, list each item of property and state its approximate value:




6. Depmdents: Isanyonedependentonyou and.foryourspouseforsupport? X]"",                          [-lNo
    lf yes, please list their names (for minor childreru use only initials); relationship to you; and how
    much you and/ or your spouse contribute toward their support each month:




                                   List any amounts you owe to




Declaration; I declare under penalty of perjury that all of the information listed above is true and correct.
I understand that a false statement may result in dismissal of my claims or other sanctions.


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                                                                          Applicant's


                                                                             Pintedname




                                                  Page 2 ol2
Rev.2/2020
